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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF INDIANA
                                 INDIANAPOLIS DIVISION

 CHARLES SLAVIK, CARLY                )
 DEMBECK, and JOSH FOUNTAIN,          )
 on behalf of themselves and others   )
 similarly situated,                  )
                                      )
                   Plaintiffs,        )                  Court File No.: 1:10-cv-0257 TAB-TWP
 v.                                   )
                                      )
 AUTHOR SOLUTIONS, INC.,              )
 AUTHORHOUSE, INC., iUNIVERSE, INC., )
 XLIBRIS, CORP., TRAFFORD PUBLISHING, )
 INC., and WORDCLAY, INC.,            )
                                      )
                   Defendants.        )



                ORDER APPROVING JOINT STIPULATION OF SETTLEMENT
                        AND DISMISSING PLAINTIFFS’ CLAIMS

        The Court, for good cause shown, enters the following Order:

        1.       The Parties’ Joint Motion for Final Approval of the Settlement is GRANTED and

 hereby incorporated by reference as part of the Court’s Order;

        2.       The claims of the thirty-nine Plaintiffs who accepted the settlement offer are

 DISMISSED WITH PREJUDICE;

        3.       The claims of non-responding Plaintiff Kari Stevenson are DISMISSED

 WITHOUT PREJUDICE; and

        4.       The parties will bear costs and fees in accordance with the terms of the Joint

 Stipulation.

         Dated: 12/20/2010
                                              _______________________________
                                                Tim A. Baker
                                                United States Magistrate Judge
                                                Southern District of Indiana
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 Copies to:
 Dated:                         BY THE COURT:
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 fisher@nka.com
                                Hon. Tim A. Baker
 Paul Joseph Lukas              UNITED STATES MAGISTRATE JUDGE
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